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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Criminal Case No. 20-cr-00153-RBJ

UNITED STATES OF AMERICA,

                Plaintiff,

v.

     1.      DANIELE PULIA, and
     2.      CARLOS FONG ECHAVARRIA,

           Defendants.
______________________________________________________________________

       UNITED STATES’ NOTICE TO COURT REGARDING FORFEITURE
______________________________________________________________________

          COMES NOW the United States of America, by and through United States

Attorney Cole Finegan and Assistant United States Attorney Tonya S. Andrews, and

hereby gives notice to the Court that it will not seek criminal forfeiture of any electronic

equipment seized from the defendants in this case, or any other assets. These assets

have either been returned to the defendants and/or their representatives or

administratively forfeited by Homeland Security Investigations.

          DATED this 13th day of October 2022.

                                                  Respectfully submitted,

                                                  COLE FINEGAN
                                                  United States Attorney

                                                  s/ Tonya S. Andrews
                                                  Tonya S. Andrews
                                                  Assistant United States Attorney
                                                  United States Attorney’s Office
                                                  1801 California Street, Suite 1600
                                                  Denver, Colorado 80202

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